                    Case 1:02-cv-06977-GBD-SN Document 787 Filed 06/16/16 Page 1 of 4




UNITED ST A TES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
-   -   -   -   -   -   -   -   -   -   -   -   -   -   -   -   -   -   -   -   -   -   -   -   -   -   -   -   -   -   -   -   -   -   -   -V


                                                                                                                                                 ORDER OF FURTHER PARTIAL
In re:
                                                                                                                                                        JUDGMENT
                    TERRORIST ATTACKS ON
                                                                                                                                                   03 MDL 1570 (GBD) (FM)
                    SEPTEMBER 11, 2001




death Plaintiffs in the above-captioned action and the Judgment by Default Against the Islamic
                                                                                                                                                                              I
                                                                                                                                                                            /.:
                                                                                                                                                                            'f
Republic oflran entered on 08/26/2015, together with the entire record in this case, and in

addition to the default judgment award for compensatory and punitive damages for the pre-death

conscious pain and suffering of each decedent, (see ECF Nos. 3226, 3229), it is hereby;

                    ORDERED that further partial judgment is entered on behalf of those Plaintiffs in Ashton

et al. v. Al Qaeda Islamic Army et al., 02-CV-6977 (GBD) (FM) identified in the attached Exhibit

A against the Islamic Republic of Iran; and it is

                    ORDERED that the Ashton wrongful death Plaintiffs identified in the attached Exhibit A

are awarded solatium damages as set forth in Exhibit A with prejudgment interest on those awards,

to the extent that Plaintiffs' claims arise out of injuries in New York State, to be calculated at the

statutory simple interest rate of nine percent per annum from September 11, 2001 until today; and

with prejudgment interest on awards arising out of injuries occurring elsewhere, to be calculated

at a rate of 4.96 percent per annum, compounded annually, over the same period;
       Case 1:02-cv-06977-GBD-SN Document 787 Filed 06/16/16 Page 2 of 4




       ORDERED that the Ashton wrongful death Plaintiffs identified in the attached Exhibit A

are awarded economic damages as set forth in Exhibit A and as supported by the expert reports

and analyses submitted as Exhibits B and C; and

       ORDERED that the Ashton wrongful death Plaintiffs not appearing on Exhibit A may

submit in later stages applications for solatium and economic damages awards that will be

approved on the same basis as currently approved for those Plaintiffs appearing on Exhibit A.



       Dated: June 16, 2016
       New York, New York

                                                                 RDERED:

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                                                                       . DANIELS
                                                                                           ~




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 Case 1:02-cv-06977-GBD-SN Document 787 Filed 06/16/16 Page 3 of 4
Case 1:03-md-01570-GBD-FM Document 3296-1 Filed 06/08/16 Page 1 of 2




                        Exhibit A
                     Case 1:02-cv-06977-GBD-SN Document 787 Filed 06/16/16 Page 4 of 4
                     Case 1:03-md-01570-GBD-FM               Document 3296-1             Filed 06/08/16     Page 2 of 2



             Exhibit A


                                           Economic Loss                                                                Solatium Damages
                       Economic Loss                         Surviving Family                        Solatium
Estate                                     with Puniti"e                                                                with Punitive
                       to Estate                             Members                                 Damages
                                           Multiplier                                                                   Multiplier
Estate of Patrick
Quigley                $ 11,043,078.00     $ 49,031,266.32
                                                             Ruth Quigley                  Sibling   $ 4,250,000.00     $    18,870,000.00
                                                             Patrick James Quigley Jr.     Father    $ 8,500,000.00     $    37,740,000.00
                                                             Rachel Quigley                Child     $ 8,500,000.00     $    37,740,000.00
                                                             Patricia Quigley              Spouse    $ 12,500,000.00    $    55,500,000.00
                                                             Leah Quigley                  Child     $ 8,500,000.00     $    3 7,740,000.00
                                                             John Vincent Quigley          Sibling   $ 4,250,000.00     $    18,870,000.00
                                                             Mi .Ta Kim Quigley            Mother    $ 8,500,000.00     $    3 7 ,740,000.00


Estate of Chandler
Keller                 $    5,171,921.00   $ 22,963,329.24
                                                             Gavin D. Keller               Sibling   $ 4,250,000.00     $    18,870,000.00
                                                             Elizabeth H. Keller-
                                                             Baker                         Spouse    $ 12,500,000.00    $    55,500,000.00
                                                             Richard E. Keller             Father    $ 8,500,000.00     $    37,740,000.00
                                                             Brandon S. Keller             Sibling   $ 4,250,000.00      $   18,870,000.00
                                                             Kathryn R Keller              Mother     $ 8.500,000.00     $   37 ,740.000.00


Estate of Richard
Gabrielle               $   1,903,671.00   $ 8.452,299.24
                                                             Connie Gabrielle              Sibling    $ 4,250,000.00     $   18,870,000.00
                                                             Nicole Gabrielle              Child      $ 8,500,000.00     $   37,740,000.00
                                                             Monica Gabrielle              Spouse     $ 12,500,000.00    $   55,500,000.00
                                                             George Gabrielle              Sibling    $ 4,250,000.00     $    18,870,000.00


Estate of Tyler
Ugolyn                  $   5,249,237.00   $ 23.306,612.28
                                                             Diane Ugolyn                  Mother     $ 8,500,000.00     $   37,740,000.00
                                                             Trevor Ugolyn                 Sibling    $ 4.250,000.00     $    18,870,000.00
                                                             Victor Ugolyn                 Father     $ 8,500.000.00     $    37,740,000.00
